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(Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)

. UNITED STATES DISTRICT COURT

for the

Western District of New York

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
Ifthe names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and atiach an additional
page with the full list of names.)
=~Yo

Defendant(s)
(Write the fill name of each defendant wha is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the fill list of names. Do not include addresses here.)

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23 CV 6317 Par

(to be filled in by the Clerk's Office)

Case No,

JURY TRIAL: Yes_\/ No__

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should ot contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include on/y: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

forma pauperis.

NOTICE

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LL

The Parties to This Complaint

A.

The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pa
needed.

Name

All other names by which
you have been known:

ges if

1D Number

Current Institution
Address

The Defendant(s)

City State Zip Code

Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. Make sure that the defend

ant(s)

listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if mown) and check whether you are bringing this complaint against them in their

individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |!
Name
Job or Title (fknown)
Shield Number _ |
Employer _ {Or
Address

City State Zip Code

[A Individual capacity [J Official capacity

Defendant No. 2
Name
Job or Title (if known)
Shield Number
Employer

Address

LA Individual capacity \A Official capacity

City State Zip Code

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EL.

Defendant No. 3
Name _ Os (6K.
Job or Title (if known) ,
Shield Number cee
Employer I A. co ee
Address - ee

City State Zip Code

[J Individual capacity J] Official capacity

Defendant No. 4
Name
Job or Title (if known)
Shield Number
Employer  q Cy fy Of bt talo Ahi se Kihr!e LZ vy
Address

City — State Zip Code
[A Individual capacity ] Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]. Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

[4 State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws], 42 U.S.C. § 1983, If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Dd. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed.

XEL. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check ail that apply):

Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

NOOCOO

Other (explain) . L Athy _ cece cece

ly. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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Cc. What date and approximate time did the events giving rise to your claim(s) occur?

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VIL. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are

exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

[] Yes
KJ No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[| Yes
LJ No
I\1Ddo not know

C, Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[| Yes
[J Nov
Do not know

Tf yes, which claim(s)?

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Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[| Yes
[A No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes
M No

If you did file a grievance:

e

1. Where did you file the grievance?

2. What did you claim in your grievance?

3. What was the result, if any?

4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VOY. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has ‘‘on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under mmminent

danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this ‘“‘three strikes rule’’?
[| Yes

[A No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[| Yes
[A No

B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. Uf there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4, Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

[| Yes
VA No

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, J certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

~

Date of signing:

Signature of Plaintiff Vilbranesch. (pry AA
Printed Name of Plaintiff N\) i tanith Hues ae

Prison Identification # Te N +h 133 | ,
Prison Address Emse Co. Curry Fre, /\Ws &/ Wa | Jin Bue
/ ;
ik | den vee N Y, Ae oY
City State Zip Cade
B. For Attorneys
Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Address

City State Zip Code

Telephone Number

E-mail Address

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STATE OF NEW YORK
SUPREME COURT : COUNTY OF ERIE

The People of the State of New York,

VS INDICTMENT NO.
, 00286-2021

NATHANIEL MYERS,

Defendant.

John J, Flynn, WI, Esq.

Erie County District Attorney
BY: David M. Zak, Esq.
Assistant District Attorney
Attorney for the People

James Quinn Auricchio, Esq.
Attorney for the Defendant Nathaniel Myers

DECISION AND ORDER

PAUL B, WOJTASZEK, J.S.C.

Defendant Nathaniel Myers (hereinafter “the defendant’’) is charged by this indictment
with Criminal Possession of a Weapon in the Second Degree, Penal Law § 265.03(3); and two
counts of Criminal Possession of a Controlled Substance in the Seventh Degree, Penal Law §

220,03, all related to allegations that occurred on or about February 14, 2021.

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The defendant filed an omnibus motion and affidavit of counsel in support of James Quinn
Auricchio, Esq., sworn to on October 31, 2021. The People filed the answering affidavit of
Matthew S. Szalkowski, Esq., sworn to on December 16, 2021.

The defendant moved to suppress the physical evidence seized pursuant to Section 710.20
of the Criminal Procedure Law as well as statements he made. A hearing was conducted pursuant
to Mapp v Ohio (367 US 643 [1961]), Dunaway v New York (442 US 200 [1979]), and People v
Ingle (36 NY2d 413 [1975]). A hearing to suppress statements was also conducted pursuant to
People v Huntley (15 NY2d 72 [1965]). Officers William Folckemer and Joe Christopher as well
as Detective Christopher Schafer of the Buffalo Police Department testified. The hearing was

conducted over two days on May 3, 2022 and June 27, 2022,

The Motion also challenges the search warrant issued by Hon. Christopher Burns, J.S.C.
ETO ee eee
on February 14, 2021 that allowed for the search of defendant’s residence located at 47 Oberlin

Avenue, Apartment rear, Buffalo, New York 14211.

Findings of Fact:and Conclusions of Law:

On February 14; 2021 Officer William Folckemer was working with Officer Joe
Christopher on routine patrol in uniform and in a marked patrol vehicle in the City of Buffalo when

he observed a red SUV parked with the engine running with two occupants that matched a BOLO
ee i
(“be on the lookout”) (Exhibit 4) that had been issued on February 10, 2021 for a person considered
eS & pers =
armed and dangerous. Officer Christopher received a call from Detective Paul Fitzpatrick that
————— . To
there was a person in that car wanted by other detectives for questioning. Officer Folckemer

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approached the parked vehicle on the driver’s side and began talking with the driver, the defendant.

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He learned the defendant did not have a valid driver’s license and he also noticed an open container
of alcohol in the car. He issued the defendant three Vehicle & Traffic Law tickets: falsifying a
temporary registration; unregistered motor vehicle; and unlicensed operator (Exhibits 6-8).

The occupants were told to exit the vehicle. The defendant was detained in handcuffs,
placed in the back of the patrol car, and taken into custody at the request of Detective Fitzpatrick
based on possible charges unrelated to the charges arising out of the car stop. Officer Folckemer

then searched the car without a warrant looking for potential contraband, specifically weapons

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based on the BOLO. He did not find ind anything. The defendant was then taken to headquarters

— ——+— ee

where he was interviewed by detectives for several hours (Exhibits 2 and d 3). Before the interview

— —

Officer Christopher conducted a pat search of the defendant prior to removing his handcuffs to
ensure officer safety during the interview. At that time he noticed a lump in the defendant’s right
sock that the defendant indicated was crack cocaine. Officer Folckemer recovered the crack
cocaine from the defendant’s boot and finished searching him.

At police headquarters Detective Christopher Schafer interviewed the defendant first. He
read the appropriate Miranda warnings (Exhibit 9) and the defendant acknowledged he understood
them (Exhibit 2). Thereafter lead Detective Wigdorski also questioned the defendant until the
defendant indicated he no longer wished to speak, at which time the detective stopped asking
questions and left the interview room. When the interview ended the defendant was taken to
Central Booking for processing.

At the conclusion of the hearing the defendant argued, among other things, that there was
no lawful basis for the seizure of the defendant. As such, anything subsequently seized from his
person and any statements he made despite being read his Miranda warnings, should all be

suppressed as fruit of the poisonous tree.

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The People contend that the seizure was lawful because the police observed an open
container and the statements were voluntarily made after Miranda warnings were given and the

defendant understood them before waiving them.

Lawfulness of police activity:

Initially, the People have the burden at a suppression hearing of showing the legality of the
police conduct in the first instance (see People v Baldwin, 25 NY2d 66, 70 [1969]; People v Ponce,
203 AD3d 1628 [4% Dept 2022]). Once the People have met this burden, it is the defendant that
bears the burden of proving any illegality of the police conduct (see People v Berrios, 28 NY2d
361 [1971]; People v Baldwin, 25 NY2d 66 [1969]).

To meet their burden the People must demonstrate the officers’ intrusion was justified
pursuant to DeBour’s four level of intrusion analysis (see People v DeBour, 40 NY2d 210, 223
[1976]).

In order to stop a moving vehicle, a police officer must have reasonable suspicion that its
occupants have committed a crime or observe a Vehicle and Traffic Law violation (People v May,

81 NY2d 725 [1992]; People v Ingle, 36 NY2d 413 [1975]; People v Rose, 67 AD3d 1447 [4"
Dept 2009]). Since the car here was stopped on its own, the officers only needed an articulable
basis to approach the parked car (see People v Ocasio, 85 NY2d 982 [1995]).

When it was discovered the driver did not have a valid license it was lawful for the officers
to ask the occupants to exit the car because there was probable cause to arrest the driver based on
his failure to produce a valid license (see People v Brawn, 198 AD3d 1370 [4° Dept 2021]).
Additionally, a police officer is permitted to order the occupants of a stopped vehicle to either exit

or remain inside to enable him or her to conduct the applicable appropriate investigation or inquiry
4

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with safety (see People v Robinson, 74 NY2d 773 [1989]; People v Forbes, 283 AD2d 92 [2™
Dept. 2001]). However, such authority must be exercised reasonably while simultaneously
respecting the occupants’ constitutional rights against unreasonable searches and seizures.

The subsequent actions of searching the vehicle without a warrant, seizing the defendant
without a warrant, and taking the defendant into custody for questioning on a wholly unrelated
series of allegations were unlawful and well beyond the permissible scope of the initial approach.
As such, the evidence seized subsequent to the stop (most notably the crack cocaine taken from
the defendant’s sock) as well as any statements by the defendant when he was interviewed later
that day must be suppressed. When the initial justification for seizing and detaining the defendant
is complete, any further detention exceeds the scope of lawful police activity (see People v
Peterson, 266 AD2d 738, 739-740 [3" Dept 199]; People v Pena, 242 AD2d 545, 546 [2™ Dept

1997]) Gnternal citations omitted).

In sum, the police activity was lawful at the outset, but in response the defendant has shown
by a preponderance of the evidence that the police then acted unlawfully. Therefore the motion to

suppress the evidence pursuant to the car search is granted.

Search Warrant:

Upon review of the search warrant documents, this Court hereby finds after due
consideration and deliberation that the two-part Aguilar-Spinelli test has been satisfied in that the
informant’s reliability and basis of knowledge for the information imparted have been sufficiently
established (People v Baptista, 130 AD3d 1541, 1542, 13 NYS3d 759 [4 Dept 2015])(internal
citations omitted). This Court further finds the search warrant is supported by probable cause,

specifically the search warrant is supported by information sufficient to support a reasonable belief
5

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that an offense has been or is being committed or that evidence of a crime may be found ina certain
place (People v Harper, 236 AD2d 822, 823, 653 NYS2d 771 [4™ Dept]; People v Bigelow, 66
NY2d 417 [1985]).

The Court acknowledges that some of the information contained in the warrant application
was procured as the result of unlawful police activity associated with the stop and subsequent
seizure and statements of the defendant (specifically the references in the warrant application to
the seizure of the cocaine and the defendant confirming his address). However, to the extent that
any portion of the warrant is invalid because it was based on information procured as a result of
unlawful police activity, the severability doctrine permits the court to set the offensive portion
aside and make a probable cause determination on the balance of the information contained in the
application. Under this analysis the warrant is valid as it is based upon the requisite probable cause
and this Court hereby determines that none of the evidence seized pursuant to the warrant needs
to be suppressed (see People v Brown, 96 NY2d 80, 85 [2001]; see also People v Hansen, 38 NY2d
17 [1975]).

Finally, this Court has considered and reviewed the defendant’s arguments that the warrant
was not adequately particularized and that the application relied upon stale information. Neither
of these arguments is persuasive or compels a different result.

As such the evidence seized pursuant to the warrant should not be suppressed and the

defendant’s motion is denied as relates to evidence seized pursuant to the lawful warrant.

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For all the foregoing reasons, it is hereby:

ORDERED, that the defendant’s motion to suppress evidence and statements resulting
from the February 14, 2021 car stop is granted, and it is hereby,

ORDERED, that the defendant’s motion to suppress evidence seized pursuant to the lawful
execution of the search warrant is denied.

This decision and order constitutes the order of this Court.

DATED: Buffalo, New York

September 19, 2022 jul

AUL B. WOJTAS#PIK
Supreme Court Jusfi

